        Case 2:21-cv-09909-GW-MAA Document 5 Filed 12/23/21 Page 1 of 1 Page ID #:26
2 AO 121 (6/90)
TO:

                  Register of Copyrights                                                           REPORT ON THE
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        ✔ ACTION
        G                  G APPEAL                                   U.S. DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
DOCKET NO.                      DATE FILED
        2:21-cv-9909                      12/23/2021
PLAINTIFF                                                                         DEFENDANT
D.M.F.P. CRUSH INC.,                                                              FASHION NOVA, LLC




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1 VA 2-223-251                   I'm You're Angel Black swimsuit                                                D.M.F.P. Crush Inc.

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      In the above-entitled case, the following copyright(s) have been included:
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3                                                                     .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                        DATE RENDERED

            G Order        G Judgment                                     G Yes        G No

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